UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA
CASE NO.: 24-1014
RETURN OF SERVICE
Arpad Madarsz
Vs.

Laboratory Corporation Of
America Holdings, et al.

ss.
I, Gerard C. Menichini, a competent adult, being duly sworn according to law, depose and say that at 10:25am on
03/15/2024, I served LabCorp Early Development Laboratories, Inc. c/o CSC at 251 Little Falls Drive,
Wilmington, DE 19808 in the manner described below:
L Defendant(s) personally served.

Adult family member with whom said Defendant(s) reside(s).
Relationship is .

LJ Adult in charge of Defendant(s) residence who refused to give name and/or relationship.
|_]Manager/Clerk of place of lodging in which Defendant(s) reside(s).
LJ Agent or person in charge of Defendant's office or usual place of business.

L] an officer of said Defendant's company.

fv] Other: B rving the register nt in accor heir required pr re, By entering th
ervice uments into thei al 2 i an tn the haskke

C. Menichini — Cert/Appt#: None
gal Services, Inc.

elphia, PA 19103

tty File#: 5128 -— Our File# 122091

Law Firm: CONSOLE MATTIACCI LAW

Attorney: CAREN N. GURMANKIN, ESQUIRE

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